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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,             )
                                      )
                     Plaintiff,       )
                                      )
              v.                      )      Criminal Action No. 22-cr-00113-MN
                                      )
MICHAEL MARX,                         )
                                      )
                     Defendant.       )

              GOVERNMENT’S SENTENCING MEMORANDUM

        Over the course of three years, Michael Marx (“Defendant”) trafficked

thousands of counterfeit professional sports championship rings imported from

China through his eBay account. The Defendant continued his scheme despite

repeated written notices from the United States Customs and Border Protection

(“CBP”) informing him that his packages were seized for violations of federal law.

This Court should sentence the Defendant to probation with a condition of 12

months of home confinement. As explained further below, the government’s

recommended sentence reflects a downward variance from the low-end of the

Guidelines, which call for a term of 12 to 18 months, with a minimum of 6 months

in prison.1




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  As it does in every case, the government will be filing a sealed Attachment A to
this Sentencing Memorandum.
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   I.      FACTUAL BACKGROUND & PROCEDURAL HISTORY

        In April 2021, Homeland Security Investigations (“HSI”) received

information that the Defendant was importing counterfeit goods from China to his

home in Delaware. (D.I. 20 (“PSR”) at ¶ 14). Between January and April 2021,

CBP seized six shipments from China to the Defendant containing numerous fake

championship rings for various professional sports organizations, including the

National Football League (“NFL”), Major League Baseball (“MLB”), the National

Basketball Association (“NBA”), and the National Hockey League (“NHL”). Id.

The rings contained counterfeit marks that were identical to or substantially

indistinguishable from marks registered by the U.S. Patent and Trademark Office

belonging to numerous sports organizations, including the Tampa Bay Buccaneers.

Id. at ¶¶ 14-15. Between April 2019 and April 2021, the Defendant sold the imported

counterfeit rings through online stores that he operated on eBay and other websites.

Id. at ¶¶ 14-16.

        The Defendant received at least three Notice of Seizure and Information to

Claimants Forms from CBP informing him that the importation of counterfeit rings

is contrary to federal law and that the property was seized by CBP and subject to

forfeiture. Id. at ¶ 14. In a blatant disregard of those notices, the Defendant

continued to import counterfeit rings from China and list them for sale on eBay and

other websites for profit. Id. at ¶¶ 14-15.


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       On September 9, 2021, after seizing a shipment of counterfeit Tampa Bay

Buccaneers Super Bowl rings bound for the Defendant, law enforcement officers

conducted a controlled delivery of the rings at the Defendant’s residence. Id. at ¶ 16.

After the Defendant accepted the package and brought it into his home, law

enforcement officers executed a search warrant and seized thousands of counterfeit

championship rings and packaging materials from the Defendant’s residence. Id.

Inside the home, law enforcement saw that the Defendant was in the process of

listing the newly received rings for sale on eBay. Id. The Defendant’s computer

screen was open to a “Revise your listing” page for his eBay account, where he was

advertising      that   “OFFICAL    2020-2021      TAMPA       BAY      BUCCANEERS

Championship Super Bowl Ring[s]” were “IN-STOCK.” Id. The retail value of the

counterfeit rings seized by law enforcement was at least $40,000. Id.

       On April 5, 2023, the Defendant pled guilty to one count of trafficking in

counterfeit goods in violation of 18 U.S.C. § 2320(a)(1). The Defendant admitted

that he intentionally trafficked in goods and services containing a trademark that he

knew was counterfeit. (D.I. 15 at ¶ 3). For purposes of calculating the infringement

amount, the parties stipulated that the retail value of the counterfeit rings was at least

$40,000, resulting in an increase in 6 offense levels pursuant to §§ 2B5.3(b)(1)(B)

and 2B1.1(b)(1)(D) of the United States Sentencing Guidelines (“Guidelines”).

Id. at ¶ 5(a).


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           The Court scheduled a Sentencing Hearing to take place on November 29,

2023, at 11:00 AM. (D.I. 24). As set forth in the PSR, the Guidelines call for

Defendant to serve 12 to 18 months in prison based on a total offense level of 13.

PSR at ¶ 92.2 Pursuant to § 5C1.1(d) of the Guidelines, if the applicable Guideline

range is in Zone C of the Sentencing Table, as it is here, the minimum term may be

satisfied by a sentence of imprisonment that includes a term of supervised release

with a condition that substitutes community confinement or home detention,

provided that at least one-half of the minimum term is satisfied by imprisonment.

Id. ¶ 93. If, however, the applicable Guideline range is in Zone B of the Sentencing

Table, then “the minimum term may be satisfied by . . . a sentence of probation that

includes a condition or combination of conditions that substitute intermittent

confinement, community confinement, or home detention for imprisonment.”

Guidelines at § 5C1.1(c)(3).

     II.     THE GOVERNMENT’S SENTENCING RECOMMENDATION

           The Court must consider several statutory factors when sentencing any

defendant, including the nature and circumstances of the offense, the defendant’s

personal history and characteristics, and the need to promote deterrence and respect

for the law. See 18 U.S.C. § 3553(a). Here, the Defendant’s conduct warrants a


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 The maximum term of imprisonment for Trafficking in Counterfeit Goods, in
violation of 18 U.S.C. § 2320(a), is 10 years with a term of supervised release of
not more than three years.
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sentence of probation with a condition of 12 months of home confinement. For that

reason, the government recommends a downward variance in Mr. Marx’s total

offense level from 13 to 11, with a new applicable Guideline range of 8 to 14 months.

If the Court adopts this variance, Mr. Marx’s new total offense level would fall into

Zone B of the Sentencing Table. Thus, “the minimum term may be satisfied by . . .

a sentence of probation that includes a condition or combination of conditions that

substitute . . . home detention for imprisonment.” Guidelines at § 5C1.1(c)(3).

             A. The Nature and Circumstances of the Offense

      The scope of the Defendant’s unlawful scheme weighs in favor of the

government’s recommended sentence. Over the course of three years, the Defendant

profited from the sale of numerous counterfeit championship rings on eBay and other

websites. PSR at ¶¶ 14-16. A central policy goal of our anti-trafficking statutes “is

to protect trademark holders’ ability to use their marks to identify themselves to their

customers and to link that identity to their reputations for quality goods and

services.” United States v. Torkington, 812 F.2d 1347, 1353 (11th Cir. 1987).

Professional sports organizations like the Buccaneers have their trademarks

devalued when hundreds of low-quality, knockoff items bearing their marks are sold.

“A trademark holder’s ability to use its mark to symbolize its reputation is harmed

when potential purchasers of its goods see inauthentic goods and identify these




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goods with the trademark holder.” Id. The harms caused by the Defendant’s actions

are real and substantial and can result in significant devaluation of the trademark.

      It is particularly troubling that the Defendant repeatedly disregarded clear

notice that his conduct was unlawful. CBP issued at least three written warnings

informing the Defendant that his conduct was in violation of federal law.

Notwithstanding those warnings, the Defendant chose to flout the law in pursuit of

personal gain. These facts counsel in favor of the government’s recommended

sentence.

             B. The History and Characteristics of the Defendant

      Defendant’s history and characteristics also support the government’s

recommended sentence. Michael Marx is a 61-year-old man with no prior criminal

history. He suffers from significant back issues and recently underwent back

surgery. PSR at ⁋ 65. He has been self-employed as a professional dog trainer for

many years.     Unfortunately, he supplemented his income by exploiting the

trademark value of numerous professional sports organizations.

      Because the Defendant has no criminal history and is able to earn an income

through his dog training business, the recommended sentence is likely sufficient to

deter the Defendant from future similar criminal conduct.




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               C. Promoting Deterrence and Respect for the Law

      There is a heightened need for deterrence in cases involving intellectual

property crimes. Like many intellectual property offenders, the Defendant’s actions

demonstrate that he simply believed his conduct would go unpunished.               He

continued his criminal scheme despite clear, repeated warnings from CBP that his

conduct was a federal crime. Because many intellectual property offenders believe

they can their commit crimes with impunity, the Defendant’s sentence should

appropriately account for the need for general deterrence.

      Moreover, the government’s recommended sentence is necessary to promote

respect for the law. Intellectual property law plays a fundamental role in the United

States economy, and is a driving force of progress in entertainment, technology, art,

and culture. See United States Patent and Trademark Office, Intellectual Property

and      the       U.S.     Economy:          2019      Update,      available       at

https://www.uspto.gov/sites/default/files/documents/uspto-ip-us-economy-third-

edition.pdf (2019) (Intellectual Property-intensive industries account for 47 million

jobs and $7.8 trillion of America’s GDP). Protecting intellectual property from

infringement is essential to foster innovation and creativity in the United States. The

proliferation of counterfeit goods, such as the rings sold by the Defendant, deceives

unwitting consumers, and erodes the public’s trust and image of established

trademarks.


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     III.   CONCLUSION

        Based on the foregoing, the government respectfully recommends that the

Court sentence the Defendant to probation with a condition of 12 months of home

confinement, as well as forfeiture as outlined in the plea agreement and preliminary

order of forfeiture. (D.I. 15; D.I. 22).3



                                            Respectfully submitted,

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                                            United States Attorney


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Dated: November 15, 2023




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  The provisions of the Mandatory Victim Restitution Act of 1996 apply to this
Title 18 offense. The Buccaneers Limited Partnership Tampa Bay Broadcasting
Inc. is a victim of the Defendant’s crime because the Defendant unlawfully
imported counterfeit championship rings bearing their trademark. PSR at ⁋⁋ 17-18.
A victim notification letter was sent to the Buccaneers, but no response was ever
received. Id. Moreover, based on his financial condition, Mr. Marx is likely
unable to pay a fine within the Guideline range. Id. at ⁋ 90. Accordingly, the
government recommends that no restitution or fine be ordered in this case.
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